Case 1:19-cv-00167-RAL Document50-1 Filed 10/03/19 Page 1of 24

EXHIBIT A

Case 1:19-cv-00167-RAL Document50-1 Filed 10/03/19 Page 2 of 24

04-18 19 10:02 FROM- District Ct 90-2-01 814-333-6587 T-546 Po0G2/0008 F-335
COMMONWEALTH OF PENNSYLVANIA POLICE CRIMINAL COMPLAINT
COUNTY OF: CRAWFORD RLER COMMONWEALTH OF PENNSYLVANIA
Magisterial District Number; 30-2-04 , mn js
MDJ: Hon. SAMUEL VINCENT PENDOLINO DEFENDANT: (NAME and ADDRESS):

Address: 894 DIAMOND PARK KOBE PINKNEY
COURTROOM First Nama Middie Name Last Name Gon.
MEADVILLE PA 16336 15617 SIR EDWARDS DRIVE
UPPER MARLBORO MD 20772
| Telephone: 814-724-2738 Telaphone:
S  cuhiagitudcutin co NCIC Extradition Code Type _ oe __]
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C] 2-Felony Ltd C1 6-Felony Pand. Extradition Deterrm, C] D-Misdemeanor No Extradition
CI 3-Fetony Surroundmg States [9 A-Misdemeanor Fulll C) E-Misdemeanor Pending
CI 4-Felony No Ext. C B-Misdemeanor Limited Cl Femisdemeanor Pen. Extra. Deter.
‘DEPENDANT IDENTIFICATION INFORMATION
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Female AKA
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ETHNICITY C1] Hispanic M4 Non-Hispanis Cunknovn
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FBI Number | MNU Number [| 225
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DEFENDANT VEHICLE INFORMATION
Plate # State Haga [ Registration GommiiVeh. [| School jy] Oth. NCIC Veh. Code | Reg.
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Office of the attorney for the Commonwealth CJ Approved C] Disapproved because:

{The attornay for the Commonwastin may cequre Mat the complet, eT eae ard athdaett, Of bot ba seprened by the attorney fer the Commermneaity pice to fing See Pa Rem. P $0)

(Name of the attorney for the Commonwealth) (Signature of the attarmey for the Cornmonweeth)

I, JARED M FRUM
(Name of the Atiant)
of Meadville City Police Dept.
(dently Deparment or Agency Represented and Political Subdivigion)
do hereby state: (check appropriate box)
4. | accuse the above named defendant who fives al the address set forth above
(1)! accuse the defendant whose name is unknown to me but who Is described as

(11 accuse the defendant whose nama and popular designation or nickname are unknown to ma and whom | have
therefore designated as John Doe or Jane Doe

with violating the penal laws of the Commonwealth of Pennsylvania at [ 901 ] MEADVILLE
(Subdivision Code) —-(Plage-Politica’ Subdivision)
299 CHESTNUT ST, MEADVILLE PA 16335
in CRAWFORD County[ 20  Jonorabout Sunday, 04/07/2019 01:00 to 04/07/2019 01:28
(County Coda) {Offense Date} i

AOPC 412A — Rev. 07/18 Page 7 of 6

OMEr we f

Case 1:19-cv-00167-RAL Document50-1 _ Filed 10/03/19 Page 3 of 24

04-18-19 10:03 FROM- District Ct 30-2-01 814-333-6587 T-546 PO003/0008 F-335
#8 POLICE CRIMINAL COMPLAINT
‘Dockel Number: Date Filed: OTNiLiveScan Number Complaint/incident Number
R-f26-~F | Y-H-1 9 YU 69 7627-2 XX-XXXXXXX
DefendantName — | Fst. MALIK PINKNEY

2. lask that a warrant of arrest or a summons be issued and that the defendant be required to answer the charges | have
made,

3. | Verify that the facts set forth in this complaint are true and correct to the best of my knowledge or information and belief.
This verification is made subject to the penalties of Section 4904 of the Crimes Code (18 Pa. C.S.§4904) relating to
unsworn falsification to authorities.

4. This complaint consists of the preceding page(s), numbered 4 through 6.

5. | Certify that this filing complies with the provisions of the Case Records Public Access Policy of the Unified Judicial System of
Pennsylvania that require filing confidential information and decuments differently than non-confidential information and
documents.

The acts committed by the accused, as listed and hereafter, were against the peace and dignily of the Commonwealth of

Pennsylvania and were contrary to the Act(s) of the Assembly, or in violation of the statutes cited.

(Before a warrant of arrest can be issued, an affidavit of probable cause must be completed, sworn to before the issuing
i

authority, and attached.) A —
Ya - dus “iin. L ft
(Date) (Year) (Signature of Affiant)

AND NOW, on this date Bors | df 2efF 1 certify that the complaint has been properly completed and verified.

An affidavit of probable cause must be completed before a warrant can be issued.

> SEAL
30-2-01 ee ee

{Magisterial District Court Number) (issuing Authority)

AOPC 412A — Rev. 07/18 Page 2 of 6

Case 1:19-cv-00167-RAL Document50-1 Filed 10/03/19 Page 4of 24

(4-18 19 10:08 FRCA- District Ct 30-2-01 814-333-6587 T-546 «P0004 /0006 F-335
te POLICE CRIMINAL COMPLAINT
“Docket Number: Date Filed: OTNiLiveScan Number Complaintincident Number
CRH2G7 9 | YeNy & oG@FZe27-O _| 190003211
Defendant Name Tepe WALK mae

The acts committed by the accused are described below with each Act of Assambly or statute allegedly violated, if
appropriate. When there is more than one offense, each offense should be numbered chronologically,

(Set forth a brief summary of the facts sufficient to advise the defendant of the nature of the offense(s) charged. A citation to ee
Inance(s) allegedly

— more, is not sufficlent. ina summary case, you must cite the epecific section(s) and subsection(s) of the statute(s) or
vi i

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Offense | sea0rh ae Le Mumutrer of Vietima Age €0 or Older 0.
wi 1 2702 [at ign pis <:| Title 18 1 FA 04
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pen? OfferseX = Saction Subsection PA StshAs (Tite) Couts Grade NCIC Offense Code UCR/NIBRS Coce
penis oa © | Aseideat Teens CE) satety zone DD work zone

Statute Description (inclucie the name of statute or ordinance):
AGGRAVATED ASSAULT-GENERAL

Acts of the accused associated with this Offense:

AggravatedAssault

Explanation: Causes or atiempts serious bodily injury under circumstances manifesting extreme indifference to the value of
human life. Nota mandatory case under 42 Pa.C.S.A. 9712. Citation: 18 Pa.C.S.A. 2702(a)(1), Grade: F1; Penalty: 20yrs./
$25,000; Mandatory Sentence?: N

TEXT: THE DEFENDANT DID, on or about April 7, 2019, attempt to cause serious bodily injury to another, or causes such
injury intentionally, knowingly or recklessly under circumstances manifesting extreme indifference to the value of human fife,
TO WIT: Defendant did punch the victim, Rhet Happel, in the feft side of the face causing extensive injuries that required
emergency surgery, This act did occur at 299 Chestnut inside the City of Meadville.

inchoate Attem Soficitation (J Conspiracy
Sir Cy Atoms C1 Soticitat 0 18 908 Number of Victims Age €0 or Okier O
Oo lz 2701 [At Si tho 't| Title 18 1 M2 O4E
Leas? Otiensat Secon Subsecton ~__ PA Stas Tis Sounts Grade NCIC Offense Cote UCRINIBRS Code
PennDOT Data Accident
(if applicable} Number [7 imerstate C1 safety Zone O Work Zone
Statute Description finclude the name of statute or ordinance):
SIMPLE ASSAULT-GENERAL

Acts of the accused associated with this Offense:

Simple Assault

Explanation: Attempts or causes bodily injury, Charge this offense when the crime is not one of "mutual combat."Citation: 18
Pa.C.S.A. 2701{a){1), Grade: M2; Penalty: 2yrs/$5,000; Mandatory Sentence?: N

TEXT. THE DEFENDANT DID, on or about April 7, 2019, attempt to cause or intentionally, knowingly or recklessly caused
bodily Injury to another, TO WiT: Defendant did punch the victim, Rhet Happel, In the left side of the face causing extensive
injuries that required emergency surgery. This act did occur at 299 Chestnut Street inside the City of Meadville.

AOPC 412A ~ Rev. 07/18 Page 3 of 6

Case 1:19-cv-00167-RAL Document50-1 Filed 10/03/19 Page5of 24

04-18-19 10:04 FROM- District Ct 90-2-07 814-333-6587 T-546 0005/0008 F-335
Ge POLICE CRIMINAL COMPLAINT
‘Docket Number: Date Filed: OTNiLiveScan Number Complaintiincident Number
Chuo 26—49 | YF YG De 29-2 _| XX-XXXXXXX
| | First: ‘ Middle: Last:
Defendant Name | KOBE MALIK PINKNEY
‘inchoate |[-] attem Solicitation Conspi :
— O aman Ci soncaee O ao Number of Victims Age 60 or Otter 0
Ol js 2709 | At “of tha {| Title 18 1 s 04
Lead? Offense Seclion Bubsect ~ Ba Beate FT Counts Grade NGIC Offense Code UCRINIBRS Code
apatoaue Tee C1 interstate CO satety zone 0D work zone
Statuta Deseription (include the n: tatut inance}:
HARRASSMENT Sry ai Gae ae eae oF . oe ae
Acts of the accused associated with this Offense:

Harassment Explanation: Strikes, shoves, kicks or otherwise subjects him to physical contact, or attempts or threatens to
do the same. Eff. 6/23/93. Act 28 of 1993, signed 6/23/93. Citation: 18 Pa.C.S.A. 2709(a)(1); Grade: S: Penalty: 0days/
$300; Mandatory Sentence?: N

TEXT: THE DEFENDANT DID, on or about April 7, 2019, with intent to harass, @nnoy or alarm another person, strike,
shove, kick or otherwise subject another person to physical contact, or the defendant attempted or threatened to do the
same, TO WIT: Defendant did punch the victim, Rhet Happel, in the left side of the face causing extensive injuries that
required emergency surgery, This act did occur at 299 Chestnut Street inside the City of Meadville.

Inchoate Attempt Solicitation Conspiracy x
Offense q 18 901 A in 18.902 A O 18903 Number of Victims Age 60 or Oider 0 _
O ja 5603 | At “et ine”. | Title 16 1 8 24
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Lact? Offersed Secon Subsecti ° PA Stasute (1 te} Counts Grade NIC Offense Coda UCRANIBRS Code
PennDOT Data Accident
(if applicable) . Number oO Interstate Cl satety Zone O Work Zone

Statute D tion {include the name of statute or ordinance):
DISORDERLY CONDUCT-FIGHTING/THREATENING VIOL BEH

Acts of the accused associated with this Offense:

Diserderly Conduct

Explanation: Summary offense. Engages in fighting or threatening, or in violent or tumultuous behavior. Citation: 18
Pa.C.S.A. 5503(a)(1); Grade: S; Penalty: 90days/$300; Mandatory Sentence?: N

TEXT: THE DEFENDANT DID, on or about April 7. 2019, with the intent to cause public inconvenience, annoyance or alarm,
or recklessly creating a risk thereof, the defendant engaged in fighting or threatening, or in violent or tumultuous behavior, TO
WIT: Defendant did punch the victim, Rhet Happel, in the lett side of the face causing extensive injuries that required
emergency surgery. This act did occur at 299 Chestnut Street inside the City of Meadville.

AGOPC 412A ~ Rev. 07/18 Page 4 of 6

Case 1:19-cv-00167-RAL Document50-1 Filed 10/03/19 Page 6 of 24

04-18-19 10:04 FROM- District Ct 30-2-01 814-833-6587 T-846 P0006 /0008 F-335
dit POLICE CRIMINAL COMPLAINT
| Docket Number: Date Filed: OTNiLiveScan Number “aa Nurmber
CR 2G-VG Yaust-s 2 Oo £o 7 oo 7 —¢) | XX-XXXXXXX
Defendant Name KOBE MAL PINKNEY

AFFIDAVIT of PROBABLE CAUSE

Your affiant is Patrolman Jared Frum of the Meadville City Police Department. I have been employed with the
City of Meadville Police Department since October of 2008. Based on the following facts and circumstances your
affiant believes enough probable cause exists for the defendant to be charged with PACC2702(a)(1) - Aggravated
Assault; grading of Felony of the Firs Degree, PACC2701(a)(1) - Simple Assault; grading of Misdemeanor of the
Second Degree, PACC2709(a)(1) - Harrasment; grading of Summary, and PACC5503(a)(1) - Disorderly Conduct;
grading of Summary.

On April 7, 2019, I was on patrol in the area of the Academy Theatre when I noticed a male walking into the
middle of the street just west of Julian's Bar. I stopped my cruiser and was approached by four males and two were
Carrying a third male. The third male identified as Rhet Happel had an extremely swollen left side of the face to the
point that his left eye was swollen shut. One of the male holding him up stated that he thinks he has a broken
orbital, I told them to walk to the south side sidewalk and I would get an ambulance to our location. I then radioed
dispatch my location and the complaint. I then exited my cruiser and one of the males stated, "I think he was
assaulted.” He then brought up an incident that happened the night before where we got dispatched to Julian's Bar
for an unconscious female in the bathroom, They stated that Happel was wrongfully being accused of “drugging"
the female. They stated that Happel was threatened earlier In the day by a male.

Meadville Area Ambulance arrived on scene and transported Happel to Meadville Medical Center. I arrived at
Meadville Medical Center a short time later and tried to speak with Happel about who hit him. He stated that the
last thing he remembered was standing in the hallway by the bathroom. He did not remember being punched. His
friends stated that they did not see him get punched but picked him up off the ground and carried him outside. The
ER doctor stated that they were going to transfer him to Hamat Hospital in Erie,

On April 8, 2019, I began work at 18:00 and spoke with Happel's mother on the phone. She stated that Happel
had to have emergency surgery and they put three plates and fifteen pins in the left side of his face.

i, JARED MFRUM : BEING DULY SWORN ACCORDING TO THE
LAW, DEPOSE AND SAY THAT THE FACTS SET FORTH IN THE FOREGOING AFFIDAVIT ARE TRUE AND CORRECT
TO THE BEST OF MY KNOWLEDGE, INFORMATION AND BELIE .

I CERTIFY THAT THIS FILING COMPLIES WITH THE PROVISIONS OF THE CASE RECORDS PUBLIC ACCESS POLICY
OF THE UNIFIED JUDICIAL SYSTEM OF PENNSYLVANIA THAT REQUIRE FILING CONFIDENTIAL INFORMATION AND

DOCUMENTS DIFFERENTLY THAN NON-CONFIDENTIAL “ee ID DOCUMENTS,
%, faux. LA meee Say
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‘ (Signature of Affiant)
Sworn to me and subscribed before me this  // day of Morel , ZelF
coe"
Date Vagisil District Judge
en
My commission expires first Monday of January, /~ 2g 2°?
SULAL

P. 10f 2
AOPC 411€ — Rev. 07/18 ~~

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EXHIBIT B

McDonald’s Receipt

Case 1:19-cv-00167-RAL Document50-1 Filed 10/03/19 Page 8 of 24

McDonald's
Meadville, PA

$16.91

Apr 7 at 1:00 AM

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EXHIBIT C

Allegheny College Access Log

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Case 1:19-cv-00167-RAL Document 50-1 Filed 10/03/19 Page 11 of 24

EXHIBIT D

April 15, 2019 Press Release on behalf of Plaintff

Case 1:19-cv-00167-RAL Document 50-1 — Filed 10/03/19 Page 12 of 24

EARL RAYNOR, ESQUIRE
ATTORNEY AT LAW
1800 JFK BOULEVARD
PHILADELPHIA, PA 19103
(215)254-0299
Fax: (914)663-5116
Email: earlraynor@yahoo.com

April 15, 2019

Mr, Keith Gushard
The Meadville Tribune
947 Federal Street
Meadville, PA 16355

Re: Allegheny Student Faces Assault Charges
Commonwealth v. Kobe Malik Pinkney, MJ-30201-CR-0000126-2019

Dear Mr. Gushard:

| represent Kobe Malik Pinkney, who is charged with Aggravated Assault, for
allegedly punching seventeen year old Rhett Happel unconscious and collapsing the
left side of his face at Julian’s Bar and Grillin the wee morning hours Mori 7, 2018.
On behalf of Mr. Pinkney, | would like to respond to your article “Allegheny Student
Faces Assault Charges.”

Contrary to your reporting about the incident, Kobe Pinkney was not the
assailant,and is an innocent victim of a mis-identification, stemming from a
suggestive identification process.

The victim does not recall the incident, and the lone witness to the incident
described the assailant as an African-American male wearing braids. Based on this

description, three days after the incident, one of the persons who helped the Mr.

Case 1:19-cv-00167-RAL ‘Document 50-1 Filed 10/03/19 Page 13 of 24
: Happel, in the bathroom, Evan Haines, produced a photograph depicting two
individuals, Jared Shaw who was apparently at the scene of the incident, along with
Mr. Pinkney, apparently standing together. Mr. Pinkney and Mr. Shaw are
teammates on the Allegheny football team. Upon being shown the photograph of
Mr. Pinkney and Mr. Shaw, the witness identified Mr. Pinkney as the assailant,
resulting in his arrest.

Contrary to the physical description given by the so called eyewitness, Mr.
Pinkney does not and never has worn braids. Also Mr. Pinkney has an airtight alibi,
wherein he has never set foot in Julian’s bar, because he is 20 years old, and,
therefore, underage, and instead was at the Theta Chi frat party, coincident with the
time of the incident, which can be corroborated by a number of witnesses who were
at the party.

Clearly, Mr. Pinkney was misidentified because he was observed by the
eyewitness in the photograph with Jared Shaw, who was at the scene of the assault.
Upon investigation, it has come to our attention that the person who assaulted the
victim is a friend of Mr. Shaw’s from Syracuse, New York, who is African-American
does have braids, and was with Mr. Shaw at Julian’s.

Mr. Pinkney’s arrest was arrested simply because he was in a picture with a
bystander at the incident. ‘This travesty of justice has completely derailed his
promising future, as a college scholarship athlete, and in the short term has
disrupted the quality of life. Both his cell phone and meal ticket have been
confiscated, affording him limited communication with his family in Maryland. This
young man, who as you noted volunteers in the Meadville community as a tax

preparer for low income people, deserves better.

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On behalf of Mr. Pinkney, | ask that your coverage of this case be balanced and

fair.

Sincerely,

EO Mag

Earl Raynor, Esquire

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EXHIBIT E

April 15, 2019 Meadville Tribune Article of Defendant Keith Gushard

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https:/Awww.meadvilletribune.com/news/allegheny-student-faces-assault-charges/article_9d6e9fc0-
5f21-11e9-bea3-2f73b87a93bb. html

Allegheny student faces assault charges

By Keith Gushard Apr 15, 2019

Fi wc in @ @

A Maryland man is facing charges that he hit another man in the face so hard the victim
had to have emergency surgery requiring three plates and 15 pins in the left side of his
face.

Kobe M. Pinkney, 20, of 15617 Sir Edwards Drive, Upper Marlboro, has a preliminary
hearing scheduled later this month on Meadville Police Department charges of aggravated
assault, simple assault, harassment and disorderly conduct.

Pinkney punched the man in the face sometime between 1 and 1:28 a.m. April 7 at
Julian’s Bar & Grill for allegedly drugging a female, but the victim “was wrongfully being

accused,” according to court documents.

On Wednesday, police interviewed a witness at the Allegheny College Public Safety
building, who stated the assault took place in the bathroom line at the restaurant, the

arrest affidavit said.

Pinkney, a junior at Allegheny, was a running back on the college’s 2018 football team.
This spring, he has served as one of 30 Allegheny student volunteers at the Meadville
Volunteer Income Tax Assistance program that offers the public free tax preparation.

The witness said Pinkney walked up to the man, tapped him on the shoulder and, when he
turned around, he was punched once by Pinkney, who then walked away, according to the
affidavit.

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The victim was taken to Meadville Medical Center for treatment, but later transferred to
UPMC Hamot in Erie, the affidavit said. The victim’s mother told police that he had to have
emergency surgery requiring three plates and 15 pins to repair the left side of his face,
according to the affidavit.

Pinkney was arraigned Thursday before Magisterial District Judge Samuel Pendolino on
the charges and placed in the Crawford County jail in lieu of $5,000 bail. He was able to
post bond on Thursday, according to online jail records.

A preliminary hearing for Pinkney is scheduled April 25 before Pendolino.

Keith Gushard can be reached at 724-6370 or by email at
kgushard@meadvilletribune.com.

1 comment .

Sign in 1 person listening

+ Follow Post comment as...

Newest | Oldest

ce Ms Nikola_Matic Apr 15, 2019

Fe
i | Depends if the man was actually trying to drug a female.. if he was then | applaud Pinkneys
actions... if not then he will have to face discipline. You can’t knock people out without substantial
evidence.

Like Reply

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EXHIBIT F

Affidavit of Jake Reidenbach

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On Wed, May 8, 2019 at 11:15 AM Earl Raynor <earlraynor@yahoo.com> wrote:

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EXHIBIT G

Affidavit of Rosslin Watson

Case 1:19-cv-00167-RAL Document 50-1 Filed 10/03/19 Page 21 of 24

COMMONWEALTH OF PENNSYLVANIA

SS

COUNTY OF

Before me, the undersigned notary public, this day personally appeared Roslin

Watson, to me known, who duly sworn according to law, deposes and says as follows:

i. !am a student at Allegheny College in Meadville, Pennsylvania.

as On the night of April 6, 2019, | drove to the Theta Chi fraternity house,
located at North Main Street and Allegheny, with fellow students, Kobe Pinkney
and Brianna Kenney King, between 11:00 pm and 11:30 pm.

3. - The three of us remained on campus until 1:00 am, when as a group we
decided to go to McDonald’s.

4, We arrived back to campus around 1:30 am.

5. | can attest that during that time none of us went to Julian’s Bar, located
at 299 Chestnut Street, Meadville, Pennsylvania.

6. | can also attest that Kobe Pinkney did not hit or fight anyone, while we

were together. FAL, )

Rosslin Watson \

Sworn to and subscribed before me

This

“_ day of Maus 2019

Notary Public

Case 1:19-cv-00167-RAL Document 50-1 Filed 10/03/19 Page 22 of 24

EXHIBIT H

5/16/2019 Meadville Tribune Article Written by Defendant Keith Gushard

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https:/Awww.meadvilletribune.com/charges-withdrawn-against-allegheny-student/article_1e65ac36-
774b-11e9-9b25-27b14c1f4f3e.html

Charges withdrawn against Allegheny student

By Keith Gushard Meadville Tribune May 16, 2019

Fliy cs in @O @ a

Charges have been withdrawn against a Maryland man accused of punching another man
so hard in the face last month that the victim needed emergency surgery requiring three

plates and 15 pins in the mans’s face.

Charges of aggravated assault, simple assault, harassment and disorderly conduct were
withdrawn Tuesday against Kobe M. Pinkney, 20, of 15617 Sir Edwards Drive, Upper
Marlboro.

Meadville Police Department filed those charges against Pinkney on April 11 for allegedly
striking a man in the face sometime between 1 a.m. and 1:28 a.m. April 7 at Julian’s Bar &
Grill.

According to court documents, Pinkney hit the man outside the restaurant’s bathrooms for
allegedly drugging a female, but the man “was wrongfully being accused.”

According to the arrest affidavit, a witness said Pinkney walked up to the man who was
standing in line for the bathroom at the restaurant. Pinkney then tapped the man on the
shoulder and, when he turned around, he was punched once by Pinkney, who then

walked away, the affidavit said.

The affidavit said victim was taken to Meadville Medical Center for treatment, but later
transferred to UPMC Hamot in Erie.

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The affidavit said the victim’s mother told police that he had to have emergency surgery
requiring three plates and 15 pins to repair the injuries to the left side of his face.

On Wednesday, Paula DiGiacomo, first assistant district attorney for Crawford County,
said the charges against Pinkney were withdrawn “until the rest of the case can be
investigated.”

“Yes,” DiGiacomo said when asked if Pinkney still was a suspect.

DiGiacomo declined further comment when asked if that meant charges may be refiled
against Pinkney and additional people.

Pinkney, a junior at Allegheny, was a running back on the college’s 2018 football team.
This spring, he has served as one of 30 Allegheny student volunteers at the Meadville
Volunteer Income Tax Assistance program that offers the public free tax preparation.

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